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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X              10/21/2020
                                                                       :
ROBERTO MANGUAL,                                                       :
                                                                       :
                                    Plaintiff,                         :
                                                                       :
                  -v-                                                  :     16-CV-5397 (JPC)
                                                                       :
CENTURY FIRST CREDIT SOLUTIONS,                                        :   ORDER OF DISMISSAL
                                                                       :
                                    Defendant.                         :
                                                                       :
---------------------------------------------------------------------- X
JOHN P. CRONAN, United States District Judge:

        The Defendant advised the Court in a letter dated September 26, 2019 that this matter had

settled, attaching a purported settlement agreement and a copy of a settlement check made out to

the Plaintiff and dated September 8, 2017, as well as stipulation of dismissal signed by the

Defendant but not signed by the Plaintiff (Dkt. 19). The attached settlement agreement, which

appears to have been signed by the Plaintiff on August 3, 2017, contains a release from liability in

connection with this case.

        Given the signed settlement agreement and release language, the Court understand that this

case settled in August 2017. Accordingly, it is ORDERED that this action is hereby DISMISSED

and discontinued without costs, and without prejudice to the right to reopen the action within thirty

days of the date of this Order. Any application to reopen must be filed by the aforementioned

deadline, and any application to reopen filed thereafter may be denied solely on that basis. If the

parties wish for the Court to retain jurisdiction for the purposes of enforcing any settlement

agreement, they must submit the settlement agreement to the Court by the deadline to reopen to be

“so ordered” by the Court. Per 3.G of the Court’s Individual Rules and Practices for Civil Cases,

unless the Court orders otherwise, the Court will not retain jurisdiction to enforce a settlement
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agreement unless it is made part of the public record.

       The Clerk of Court is respectfully directed to close the case.

       SO ORDERED.

Dated: October 21, 2020
       New York, New York                            _______________________________
                                                            JOHN P. CRONAN
                                                          United States District Judge




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